          Case 1:19-cr-00696-PAE Document 221 Filed 05/12/21 Page 1 of 1

Andrew Frisch
Partner

212-344-5400                                               26 Broadway, New York, NY 10004
afrisch@schlamstone.com                                    Main: 212 344-5400 Fax: 212 344-7677
                                                           schlamstone.com




May 12, 2021

Kedar Bhatia
Assistant U.S. Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007

Re:       United States v. Ari Teman, 19 CR 696 (PAE)

Dear Kedar:

Pursuant to the Court’s Order of April 26, 2021 [Docket No. 217 at 3], enclosed please a
Declaration of Richard M. Fraher in the above-referenced case.


                                                    Very truly yours,

                                                    s/ Andrew J. Frisch
                                                    Andrew J. Frisch

                                                    s/ Susan G. Kellman
                                                    Susan G. Kellman
                                                    25 Eighth Avenue
                                                    Brooklyn, New York 11217

Enclosure

cc: Hon. Paul E. Engelmayer
